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 8                                   UNITED STATES DISTRICT COURT FOR THE

 9                                     EASTERN DISTRICT OF CALIFORNIA

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11 HENRY'S BULLFROG BEES , ET AL.,                         CASE: 2:21−CV−00582−DJC−CKD

12                             vs.

13 SUNLAND TRADING, INC. , ET AL.,                         ORDER OF REASSIGNMENT

14                                                    /

15          The court, having considered the appointment of District Judge Daniel J. Calabretta, finds the

16 necessity for reassignment of the above captioned case, and for notice to be given to the affected parties.

17          IT IS THEREFORE ORDERED that the above captioned case shall be and is hereby

18 REASSIGNED from District Judge Troy L. Nunley to District Judge Daniel J. Calabretta

19 for all further proceedings. The new case number for this action, which must be used on all documents

20 filed with the court, is:                2:21−CV−00582−DJC−CKD

21          All pending motions are submitted without appearance and without oral argument pursuant to

22 Local Rule 230(g) and the hearing on said motions is VACATED. If the Court subsequently concludes

23 that oral argument is necessary, a hearing will be set and the parties notified accordingly. Further, all

24 pretrial conference and trial dates currently set in this reassigned action are vacated and shall be reset, as

25 necessary, by the reassigned Court.

26   DATED:      April 4, 2023

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